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                                                        12                              UNITED STATES DISTRICT COURT
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                                                        13                            CENTRAL DISTRICT OF CALIFORNIA
                                                        14    ANDREA RIDGELL, on behalf of            )     Case No.: 2:18-CV-04916 PA (AFMx)
                                                              herself and others similarly situated,  )
                                                        15                                            )     DECLARATION OF BRITTANY
                                                                           Plaintiff,                 )     SHAMBURGER IN SUPPORT OF
                                                        16                                            )     FRONTIER AIRLINES INC.'S
                                                                    v.                                )     MOTION FOR SUMMARY
                                                        17                                            )     JUDGMENT
                                                              FRONTIER AIRLINES, INC. a               )
                                                        18    Colorado corporation; AIRBUS            )     Date: June 17, 2019
                                                              S.A.S., a foreign corporation doing     )     Time: 1:30 p.m.
                                                        19    business in the State of California;    )     Place: Courtroom of the Honorable Percy
                                                              AIRBUS GROUP HQ, INC., a                )            Anderson
                                                        20    corporation doing business in the State )
                                                              of California,                          )
                                                        21                                            )
                                                                           Defendants.                )
                                                        22                                            )

                                                        23               I, Brittany Shamburger, declare and state as follows:
                                                        24               1.    Menzies Aviation is a company providing essential airport services on
                                                        25    behalf of air carriers. In June, 2017, Menzies provided gate agents for Frontier
                                                        26    Airlines at Phoenix Sky Harbor International Airport.
                                                        27               2.    I am employed by Menzies in the position of General Manager and
                                                        28
                                                                                                 -1-
                                                               DECLARATION OF BRITTANY SHAMBURGER IN SUPPORT OF FRONTIER AIRLINES,
                                                                               INC.'S MOTION FOR SUMMARY JUDGMENT
                                                      4838-6196-3671.1
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                                                         1    am currently based in Denver, Colorado (“DEN”). In June, 2017, I was employed
                                                         2    by Menzies as an Account Manager at Phoenix Sky Harbor International Airport.
                                                         3    At that time, my legal name was Brittany Gorman, but I have since married and my
                                                         4    legal surname is now Shamburger. As Account Manager at Menzies in Phoenix,
                                                         5    my job duties included overseeing day-to-day operations on my customers’ flight
                                                         6    operations.
                                                         7               3.   I have personal knowledge of the facts contained in this declaration. I
                                                         8    can competently testify to these facts if called as a witness in these proceedings.
                                                         9               4.   I understand Frontier flight no. 1630 on June 3, 2017 is at issue in this
                                                        10    litigation. To my understanding, the Menzies gate agents on duty when flight no.
                                                        11    1630 landed in Phoenix no longer work for Menzies. However, both in my current
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                     Los Angeles, California 90071
CLYDE & CO US LLP




                                                        12    capacity as General Manager and formerly as Account Manager at Menzies, I am
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                                                        13    familiar with Menzies' training and policies and procedures regarding the duties of
                                                        14    gate agents.
                                                        15               5.   Menzies gate agents regularly handle the boarding and disembarkation
                                                        16    process on behalf of Menzies' air carrier partners.          In handling any situation
                                                        17    involving a flight delay and/or cancellation, Menzies gate agents are trained to
                                                        18    advise passengers to remain near the gate area so that they can hear announcements
                                                        19    relating to the status of their flight, as the aircraft could leave earlier than its
                                                        20    estimated time. In event of a cancellation, Menzies gate agents are trained to make
                                                        21    announcements regarding any alternative transportation, hotel accommodations
                                                        22    and/or compensation to be provided to passengers.
                                                        23               6.   At airport terminal gates, Menzies agents do not confine passengers in
                                                        24    the gate area by any means and they have no intention to confine passengers.
                                                        25    Rather, Menzies agents make announcements regarding flight status and boarding
                                                        26    and check passengers in as they board their flights.
                                                        27               7.   Menzies gate agents are not armed and have no legal authority to
                                                        28
                                                                                                 -2-
                                                               DECLARATION OF BRITTANY SHAMBURGER IN SUPPORT OF FRONTIER AIRLINES,
                                                                               INC.'S MOTION FOR SUMMARY JUDGMENT
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          1     detain any passenger. Menzies also does not use physical barriers, force, threats
         2      of force, menace, fraud, deceit or unreasonable duress in dealing with passengers.
         3      Rather, it is Menzies' policy and procedure to advise passengers that, if they leave
          4     the gate area, they may miss an important announcement regarding the flight.
          5     However, passengers are always free to leave the gate area and many passengers
          6     do leave in order to use the restroom, purchase food and/or visit a designated
          7     smoking area within the airport.
          8               8.   I was not working in the area at the time, but it is my understanding
          9     that on June 3, 2017, the Phoenix Sky Harbor International Airport was open and
        10      in operation when flight no. 1630 landed. In accordance with their training, the
        11      Menzies gates agents who handled the disembarkation of flight no. 1630 that day
        12      would have made the usual announcements to passengers, to remain near the gate
        13      area in order to hear further announcements regarding the status of their flight.
        14                9.   If a passenger expresses a desire to leave the gate area and/or airport,
        15      Menzies' gate agents are trained to advise the passengers that they are free to leave
        16      but they may miss their flight and/or alternate transportation. I am not aware of
        17      Menzies having any record or other indication of passenger complaints or requests
        18      to leave the airport relating to flight no. 1630 on June 3, 2017.
        19                I declare under penalty of perjury under the laws of the United States of
        20      America that the foregoing is true and correct. Executed on May 20, 2019, at
        21      Denver, Colorado.
         22

        23
                                                               BRITTANY SHAMBURGER

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                DECLARATION OF BRITTANY SHAMBURGER IN SUPPORT OF FRONTIER AIRLINES,
                                INC.'S MOTION FOR SUMMARY JUDGMENT
       4838-6   :3671.1
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    1                                 PROOF OF SERVICE
    2                             STATE OF CALIFORNIA
                                COUNTY OF SAN FRANCISCO
    3

    4         I am a employed in the County of San Francisco, State of California, I am over
    5 the age of eighteen years, and not a party to the within action. My business address is

    6 101 Second Street, 24th Floor, San Francisco, California 94105.

    7         On May 20, 2019, I served the document(s) described as:
    8   DECLARATION OF BRITTANY SHAMBURGER IN SUPPORT OF FRONTIER
              AIRLINES INC.’S MOTION FOR SUMMARY JUDGMENT
    9
              on the parties in this action addressed as follows:
   10
                                 SEE ATTACHED SERVICE LIST
   11
              in the following manner:
   12
             (BY FAX): by transmitting via facsimile the document(s) listed above to the
   13         fax number(s) set forth below, or as stated on the attached service list, on this
              date before 5:00 p.m.
   14
             (BY MAIL): as follows: I am “readily familiar” with the firm’s practice of
   15         collection and processing correspondence for mailing. Under that practice it
              would be deposited with the U.S. Postal Service on that same day with postage
   16         thereon fully prepaid at San Francisco, California in the ordinary course of
              business. I am aware that on motion of the party served, service is presumed
   17         invalid if postal cancellation date or postage meter date is more than one day
              after the date of deposit for mailing in affidavit.
   18        (BY OVERNIGHT DELIVERY): I caused such envelope(s) to be delivered
              to an overnight delivery carrier with delivery fees provided for, addressed to
   19         the person(s) on whom it is to be served.
   20        (BY PERSONAL SERVICE): I caused such envelope(s) to be delivered by
              hand this date to the offices of the addressee(s).
   21        (BY CM/ECF): by electronic filing system with the clerk of the Court which
              will send a Notice of Electronic Filing to all parties with an e-mail address of
   22         record, who have filed a Notice of Consent to Electronic Service in this action:
   23
              I declare I am employed in the office of a member of the bar of this court at
   24
        whose direction the service was made.
   25
              Executed on May 20, 2019, at San Francisco, California.
   26

   27
                                                      Sonja L. Gray
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        DECLARATION OF BRITTANY SHAMBURGER IN SUPPORT OF FRONTIER AIRLINES,
                        INC.’S MOTION FOR SUMMARY JUDGMENT
                                        Case 2:18-cv-04916-PA-AFM Document 56-5 Filed 05/20/19 Page 5 of 5 Page ID #:661


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                    th




                                                    14   Attorneys for Plaintiff
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                                                          DECLARATION OF BRITTANY SHAMBURGER IN SUPPORT OF FRONTIER AIRLINES,
                                                                          INC.’S MOTION FOR SUMMARY JUDGMENT
